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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA,
                         NORTHERN DIVISION

BRIANNA BOE, et al.;                    )
                                        )
         Plaintiffs,                    )
                                        )
and                                     )
                                        )
UNITED STATES OF                        )    Civil Action No.
AMERICA,                                )    2:22-cv-00184-LCB
                                        )
Plaintiff-Intervenor,                   )
                                        )
vs.                                     )
                                        )
STEVE MARSHALL, in his                  )
official capacity as Attorney           )
General of the State of Alabama;        )
et al.;                                 )
                                        )
           Defendants.                  )

EAGLE FORUM OF ALABAMA’S AND SOUTHEAST LAW INSTITUTE’S
                MOTION FOR SANCTIONS
         AGAINST THE UNITED STATES OF AMERICA

       Non-parties Eagle Forum of Alabama (“EFA”) and Southeast Law Institute

(“SLI”) move the Court, pursuant to Fed. R. Civ. P. 45(d)(1), to impose an

appropriate sanction on the United States of America, intervenor plaintiff, because

of the non-party document subpoenas served on these organizations this past August

by the U.S. Department of Justice (“DOJ” or “Government”) – in particular, the

DOJ’s established breach of its duty under Rule 45(d)(1) to “take reasonable steps
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to avoid imposing undue burden or expense” on non-parties through the subpoena

process.

       This Court has already established the impropriety of the subpoenas issued by

the DOJ, both in the Court’s comments at the October 14, 2022, hearing on these

non-parties’ Motions to Quash the subpoenas (Docs. 151 and 152), and in the

Court’s October 24, 2022, Opinion and Order granting the motions to quash (Doc.

191). The Court specifically held in its Opinion and Order that the subpoenas

“exceed the scope of discovery” under Rule 26; that the materials which the DOJ

had sought by the subpoenas were “unlikely to reveal or lead to any information”

that would help resolve the fundamental issue in this case (i.e, whether the

Vulnerable Child Compassion and Protection Act (“VCAP”) enacted into law by the

Alabama Legislature is constitutional), and, thus, that “the requested material has

little – if any – relevance for purposes of discovery;” and, further, that “the burden

of the requested material greatly outweighs any slight relevance it may have.” (Doc.

192, pp. 1, 5-6.)1

       Under the circumstances of this case, EFA and SLI submit that the DOJ’s

breach of its duty under Rule 45(d)(1) and its abuse of the subpoena process was




1
        Because the subpoenas fell outside the scope of discovery and thus were due to be quashed
anyway, the Court declined to address EFA’s and SLI’s arguments that the subpoenas were also
due to be quashed due to First Amendment privilege. (Doc. 192, p. 6, fn. 15.).

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particularly egregious and deserving of compensatory as well as significant punitive

sanctions.

       I.      Pertinent Facts of the Government’s Misconduct and Its Evolving
               Position Regarding these Subpoenas

       This Court’s October 24, 2022, Opinion and Order outlined the breathtakingly

broad scope of the document subpoenas which the Court went on to quash in their

entirety. (Doc. 192, pp. 1-3). Those subpoenas demanded production from these

non-parties of eleven (11) broad categories of documents going back to 2017

regarding EFA’s and SLI’s concerns about gender-altering medical treatment to

minors and the VCAP legislation that was debated in and ultimately enacted by the

Alabama Legislature, for which EFA and its membership had advocated. (Docs.

151-1 and 152-1). Notwithstanding these eleven (11) broad categories of documents

which they were demanding over several years, however, Mr. Cheek’s cover letter

with the subpoenas provided one (1) narrow, purported rationale – and a highly

dubious one at that -- for why the DOJ was dragging these non-parties into the

litigation:

       During the preliminary injunction hearing the Court asked who drafted
       the bill that resulted in VCAP. Several public statements suggest that
       [EFA or SLI] staff may have had some involvement in drafting the
       legislation or its predecessor bills.2

2       Thus, the DOJ rested its entire justification for these non-party document subpoenas on an
apparently off-handed question that the Court posed to the parties during Day 3 of the preliminary
injunction proceedings back in May when the Court (after first saying that he wouldn’t be offended
if no one wanted to address it), asked where the bill resulting in VCAP came from and who wrote

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(Doc. 151-1, p. 1; Doc. 152-1, p. 1). Clearly, the broad range of documents which

the DOJ demanded in these subpoenas was not relevant and not proportional to that

narrow question, even if that question was itself relevant to the constitutionality issue

before the Court (which, for the reasons discussed in EFA’s and SLI’s previous

filings, as well as those of the State of Alabama defendants, it is not).

       EFA and SLI objected and moved to quash the subpoenas in their entirety on

September 7, 2022, on the basic grounds of: (1) the lack of relevance as well as

proportionality of the documents sought, in violation of Fed. R. Civ. P. 26(b)(1); (2)

First Amendment privilege, in violation of Fed. R. Civ. P. 45(d)(3)(A)(iii); and (3)

undue burden on EFA, in violation of Fed. R. Civ. P. 45(d)(1) and 45(d)(3)(iv).

(Docs. 151 and 152). The Declarations filed as exhibits to the Motions to Quash

(among other things) confirmed what the DOJ already knew pertinent to the question

it had asserted as a justification for the subpoenas – that, while of course the VCAP

after thorough vetting and debate was ultimately the product of the Alabama

Legislature, EFA (with some assistance from SLI) had provided some proposed

legislation and amendments and that EFA and its membership had advocated to

members of the Alabama Legislature over a several-year period for this kind of




it. The Court’s question was quickly and accurately answered at the hearing by Mr. LaCour on
behalf of the State: “Your Honor, it was a bill introduced into the Legislature, considered by the
Legislature, enacted, so this is the work product of the Legislature.” Trans., p. 251.

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legislation. (Docs. 151-3, 151-4, and 152-3). The Declarations further established

– although the DOJ had to have already understood this also just by the sheer breadth

of the subpoenas – what a massive burden would be imposed on EFA (including its

volunteer general counsel, Margaret Clarke, as well as its executive director,

Rebecca Gerritson) if it had to comply with the subpoenas. (Id.). Finally, the

Declarations established the basis for the First Amendment privilege which EFA and

SLI were asserting and the importance of that principle. (Id.).3

       The next day, September 8, 2022, the undersigned on behalf of EFA and SLI

had a “meet and confer” conference with two DOJ attorneys.4 Despite having been

provided in the Motions to Quash with the information pertinent to the purported

(albeit itself irrelevant) question in Mr. Cheek’s original cover letter served with the

subpoenas, the DOJ did not withdraw the subpoenas and made no offer at that time

to even compromise or narrow the subpoenas. Further, in addition to the more

mundane legal discussion between lawyers about issues of relevance,

proportionality, undue burden, etc., during the “meet and confer” conference the

undersigned discussed the First Amendment privilege issue and explained to the

DOJ lawyers that one of the reasons why EFA, SLI, and the undersigned felt so



3
       EFA also noted its special statutory protection as a 501(c)(4) social welfare organization.
4       Asst. U.S. Attorney Jason Cheek, under whose signature the subpoenas were issued, and
Kaitlin Toyama with the DOJ’s Civil Rights Division in Washington, D.C.

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strongly about their position was that they viewed the subpoenas as a form of

political harassment from the DOJ. Notably, the DOJ lawyers did not even attempt

to deny this. (Doc. 176, pp. 3-6).

      On September 14, 2022, Mr. Cheek on behalf of the Government again

emailed the undersigned and said that after further review the DOJ was “willing” to

narrow the categories of documents sought in both subpoenas to Request Nos. 1, 2,

4, 5, and 6. (Doc. 168-6). However, as the undersigned pointed out in his reply

email, all of the numerous problems with the subpoenas that were outlined in the

motions to quash – including but not limited to the First Amendment privilege issues

– still applied even assuming the subpoenas were narrowed to the topics listed in Mr.

Cheek’s email. (Doc. 168-6).

      The DOJ filed its response in opposition to EFA’s and SLI’s motions to quash

the subpoenas on September 21, 2022. (Doc. 168). The DOJ doubled down on its

position at that time, even absurdly asserting to this Court that the document

subpoenas as issued were “narrowly tailored.” (Doc. 168, p. 2). Tellingly, however,

the DOJ did not even attempt to show in its opposition brief– because it could not

show -- how most of the documents it demanded in its subpoenas could possibly be




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relevant or proportional to the issues in this case.5 Nor did the DOJ make a

meaningful response to EFA’s undue burden objection.

       In fact, as EFA and SLI discussed in their reply brief filed September 28,

2022, none of the multiple categories of documents demanded by the DOJ could

pass the relevance test much less the proportionality test under Rule 26(b)(1). EFA’s

and SLI’s reply further demonstrated how all of the documents which the DOJ was

demanding are protected by First Amendment privilege, and also discussed further

the undue burden compliance with the subpoena would impose on EFA. (Doc. 176).

       On October 7, 2022, the Friday night before the scheduled hearing on the

Motions to Quash, the DOJ effectively conceded the impropriety of its subpoenas

by filing a Notice informing the Court that it had “narrowed” the scope of the

subpoenas at issue to only one (1) category of documents so as “to reduce the burden

of production on EFA and SLI.” (Doc. 184). The DOJ stated that it was now seeking

from these private non-parties only “any medical studies or literature referenced in



5
       For example, regarding document category no. 1 in the subpoenas, the DOJ made no
attempt to explain how could just subpoena any draft legislation existing in the files of EFA or SLI
that was not provided to the Alabama Legislature meet even the DOJ’s (erroneous) theory of
relevance. Similarly, on category no. 2, any materials considered by EFA and SLI in drafting
proposed legislation could never have been relevant, much less proportional, even under the DOJ’s
theory. Similarly, on category no. 6, the DOJ made no attempt to defend its request for
communications between EFA and other non-governmental entities. The DOJ did not address
those questions, because the answer is obvious and illustrates the clear impropriety of the
subpoenas. On other categories of documents in the original subpoenas (e.g., nos. 3, 7, 8, 9, 10,
and 11), the lack of any relevant connection or proportionality between the documents which the
DOJ demanded and any legitimate issue in this case is even more apparent.

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Section 2 of VCAP” (id.), although in fact that category of documents was a new

request and thus procedurally improper under Rule 45. EFA and SLI responded to

the DOJ’s 11th-hour pivot from its original subpoenas by filing a Supplement to their

Motions to Quash in which they addressed the problems with the DOJ’s latest

request for documents. (Doc. 186).

      At the October 14th hearing, the Court asked Mr. Cheek to explain what had

changed between the original “absolutely asking for everything we can think of”

subpoenas back in August and September, to “we just really actually need only one

thing” (i.e., “1 percent” of the original subpoena) as evidenced by the October 7th

Friday night filing. (Trans. pp. 6, 8). Mr. Cheek briefly tried to defend the DOJ’s

“team subpoena[s],” asserting that they had sought relevant information (Trans. pp.

8-9, 14), when the Court asked him again: “how in the world could what the

Department of Justice is asking for be relevant to this case and its outcome?” (Trans.

p. 9). Mr. Cheek then asserted that the reason for the original subpoenas was that

the DOJ was looking “first and foremost to pin down who wrote the statute” (again

not attempting to address how the overwhelming majority of what the DOJ had

demanded in the subpoenas could be relevant and proportional to even that question,

which again itself is irrelevant) and that, while the DOJ had had some suspicions or

information about who was involved in drafting the legislation, “we didn’t know that




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for certain until we got the declarations that were attached to the motions to quash.”

(Trans. pp. 9-10).6

       While conceding that EFA and SLI were well within their rights to file

motions to quash, Mr. Cheek further tried to justify the DOJ’s issuance of the

original 11-category document subpoenas by saying that it expected more of a

“dialogue” with these non-parties about the subpoenas before such a motion would

be filed. (Trans., pp. 11, 30). However, Mr. Cheek did not try to explain why, if

that was the DOJ’s thought process (inadequate a justification as it was for the

reasons discussed infra), it had initially doubled down on its position after EFA and

SLI had filed their motions to quash before finally effectively withdrawing the

original subpoenas (while still asserting one new document request to EFA).

       After a brief discussion of the DOJ’s (new) request for the medical studies or

literature referenced by the Alabama Legislature in the VCAP statute, the Court then

returned to the subject of the original subpoenas and asked Mr. Cheek: “I want to

know how the Department of Justice thought that those were relevant and how were

you going to use that information if you got it. … So where were you really headed

with this?” (Trans. pp. 16-17). Mr. Cheek’s response came no closer to justifying



6
        While in fact the DOJ already knew this before it issued the subpoenas and shouldn’t have
issued them to begin with, if all the DOJ was really looking for was to know who was involved in
drafting the VCAP legislation why didn’t the DOJ withdraw the subpoenas immediately upon
receiving the Declarations filed with EFA’s and SLI’s Motions to Quash?

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the original 11-category, multi-year subpoenas than had his previous response: 1)

“a big piece of it was to identify the origins of the statute;”7 2) “[i]t could provide

circumstantial evidence of the Legislature’s intent;”8 and 3) “it can lead to different

areas for us to explore.”9 (Trans. pp. 17-18).

       The Court recognized the danger that the DOJ could in the future weaponize

the subpoena process to go after other political advocacy groups, and articulated to

Mr. Cheek the Court’s concern about the direction the Department was taking: “So,

you know, is the new standard going to be that these kind of subpoenas … go out in

legislation to any advocacy organization, and they want e-mails to their members,

they want social media posts, they want things that the group just considered in their

advocacy. And that’s all the things you’re asking for.” (Trans. p. 18). The Court

concluded the hearing by admonishing the DOJ, through Mr. Cheek, that “I hope

we’re not going to go down this road with any organization in addition to Eagle




7
       This explanation is hollow for the reasons discussed above.

8
        Mr. Cheek never attempted to explain how any of the 11 categories of these non-party
document subpoenas were reasonably calculated to do that, because they were not. Further, this
attempted justification for the subpoenas is contrary to the DOJ’s own position (as well as that of
the private, original plaintiffs) that the VCAP statute is unconstitutional “on its face.” See further
discussion in EFA’s and SLI’s reply brief on the motions to quash (Doc. 176), pp, 16-17.
9
       That nebulous rationale also ignores not only the relevance and proportionality
requirements of Rule 26(b)(1) but also the DOJ’s obligation under Rule 45(d)(1) to avoid imposing
undue burdens on non-parties through a subpoena.

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Forum in this case. Because that subpoena certainly was very overly broad. I

understand why they’re here today, and they should be here today.”

      II.   Under Rule 45(d)(1), sanctions should be entered against the
            Government for its misconduct here.

      As noted above, at the October 14th hearing Mr. Cheek attempted to justify

the DOJ’s issuance of these improper and overly broad subpoenas by saying that the

DOJ expected more of a “dialogue” with EFA and SLI before motions to quash were

filed and that, had this “dialogue” occurred, perhaps motions to quash could have

been avoided. (Trans., pp. 11, 30). In other words, according to Mr. Cheek’s

rationale, the DOJ with its vast resources and governmental power thought it was

appropriate to use an incredibly broad subpoena to then, through subsequent

“dialogue” (i.e., coercion), pressure a small, grassroots, volunteer-driven

organization to compromise and produce what the Government was really after.

      To the contrary, Rule 45 squarely prohibits such a use of the subpoena:

             A party or attorney responsible for issuing and serving a
      subpoena must take reasonable steps to avoid imposing undue burden
      or expense on a person subject to the subpoena. The court for the
      district where compliance is required must enforce this duty and impose
      an appropriate sanction – which may include lost earnings and
      reasonable attorney’s fees – on a party or attorney who fails to comply.

Fed. R. Civ. P. 45(d)(1) (emphasis added). Thus, contrary to the DOJ’s position, it

had an affirmative duty before issuing the subpoenas to avoid an undue burden on




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these non-parties. The DOJ utterly failed to comply with that duty. Sanctions are

thus clearly called for by the text of the rule and the undisputed facts of this matter.

      In Progressive Emu Inc. v. Nutrition & Fitness Inc., 785 F. App'x 622 (11th

Cir. 2019), the Eleventh Circuit Court of Appeals upheld sanctions under Rule 45

against a law firm which (like the DOJ here) had issued an unreasonable document

subpoena that would have imposed an undue burden on the responding party. One

of the sanctioned law firm’s arguments on appeal was essentially the same “we just

wanted a dialogue” argument which the DOJ asserted at the October 14th hearing in

this case. The Eleventh Circuit squarely rejected that argument:

      Anderson Weidner maintains that Defendant's failure to move the court
      for a show cause order or consult with them to narrow Plaintiff's
      subpoena before filing its motion to quash ‘alone precludes the district
      court's grant of attorneys’ fees.’ But Federal Rule of Civil Procedure
      45 imposes no such obligation. Instead, it requires those serving a
      subpoena to take reasonable steps to avoid imposing undue burden and
      expense on the recipient of the subpoena and authorizes sanctions on a
      party or attorney who fails to comply. Fed. R. Civ. P. 45(d)(1). Rule
      45 leaves no room for a party or attorney to issue an untimely,
      facially overbroad and unduly burdensome subpoena and expect to
      work out the details later….”

Id. at 629 n. 10 (emphasis added). For the same reason, even putting aside for the

moment the political context of this case and the clear indications of government

harassment and bad faith, sanctions would be due in this case due to the DOJ’s

unquestionable breach of its duty under Rule 45(d)(1).




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      Unlike the facts of Progressive Emu, however, this is not a case of a small law

firm that, in the heat of trial preparation, was simply negligent in issuing an overly

broad and unreasonable document subpoena to a non-party. Nor is this case about

private commercial contract rights, as important as those are. Rather, this case is

about the Government of the United States, through the DOJ (the largest law firm in

the world), issuing ridiculously broad document subpoenas to volunteer-driven

private organizations who were not parties to the case and had simply exercised their

First Amendment rights – our most cherished and fundamental rights under the

Constitution -- to petition their State Legislators and advocate for legislation that the

current Administration in Washington, D.C. does not like. Thus, the branch of the

federal government that should have been concerned with protecting the First

Amendment rights of private organizations and citizens such as EFA and its

membership instead has been dismissive of and punitive against those rights. At the

very least, the DOJ’s utter failure (already recognized by this Court) to comply with

its Rule 45 duty to avoid imposing an undue burden on non-parties through

subpoenas is much more egregious because of the politically-charged nature of this

case and the fact that the documents demanded by the DOJ only existed in the first

place because of these private entities’ exercise of their First Amendment rights.

      In fact, evidence of bad faith by the DOJ here is abundant, as demonstrated

above. In particular, the rationale asserted by the DOJ for the subpoenas – to find


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out who was involved in drafting the VCAP legislation – is itself irrelevant to the

issues in this case. But beyond that, the glaring disconnect between even that slender

purported rationale for the subpoenas, and the broad scope of what the subpoenas

actually demanded, is strong evidence of bad faith by the DOJ.

       Indeed, there is ample evidence just from the known facts of the

Government’s conduct outlined above to infer that the issuance of these subpoenas

was in fact political harassment and that the Government’s true intent in issuing

these subpoenas was to try to intimidate EFA and other like-minded groups of

citizens into silence and to stay out of the political process going forward.10 The

intimidation effort is well summarized by the amicus brief of 53 Organizations:

       “[T]he United States served a subpoena on Eagle Forum of Alabama
       (“EFA”) with no legitimate purpose but instead to intimidate and chill
       the free speech, associational, and petitioning rights of an organization
       whose views are currently contrary to those of the United States
       Government. In so doing, the government seeks to force a small non-
       profit with only one full-time employee to pony up the resources to
       fight the Department of Justice, the world’s largest law firm. The
       government’s message is clear and unmistakable: exercise your rights
       and participate in the political process at your own peril.”

(Doc. 165-1, pg. 3.)


10
        The Biden administration openly threatened Alabama legislators at a press conference back
in April for enacting the VCAP. President Biden’s then-press secretary Jen Psaki warned,
“…Alabama’s lawmakers and other legislators who are contemplating these [bills protecting
children] have been put on notice by the Department of Justice…President Biden has committed
in both words and actions to fight...” (Emphasis added.). The facts pertinent to this subpoena
dispute outlined above show that the Biden Administration’s obsession to overturn the law of this
State as expressed in the VCAP statute was not limited to only fighting again Alabama lawmakers,
but also against private citizens and organizations who had advocated for that legislation.

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      III.   Appropriate Sanctions

      The appropriate amount of the sanctions here is obviously within this Court’s

good discretion. However, EFA and SLI submit that the analysis should start with

an amount that includes compensation for the significant time that their personnel

incurred in fighting the DOJ’s improper and illegitimate subpoena. For details, see

the attached Third Declaration of Margaret Clarke (Exhibit A hereto); the Second

Declaration of Rebecca Gerritson (Exhibit B), the Declaration of Eunie Smith

(Exhibit C), and the Declaration of Eric Johnston (Exhibit D; the value of Mr.

Johnston’s professional time and expenses incurred in this subpoena dispute at his

normal, reasonable rate is $13,765.38). Rule 45(d)(1) also expressly contemplates

sanctions to include a reasonable attorney’s fee. In this case, as the Court is aware,

the undersigned along with his law firm has provided legal services to EFA and SLI

on a pro bono basis because of the important First Amendment principles at stake in

this case which, as the Court recognized at the October 14th hearing, do not change

depending on what political party currently occupies the White House. EFA and

SLI submit that reasonable sanctions against the Government should include a

reasonable attorney’s fee. See the attached Declaration of John M. Graham (Exhibit

E) for the amount of time and expenses incurred by him and other personnel with

his law firm in this matter and the value of that time at a reasonable rate, the total of

which is $46,873.83.


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      EFA and SLI also submit that punitive sanctions should be entered here, due

to: a) the egregious nature of the Government’s misconduct outlined above; b) the

chilling effect the subpoenas if enforced would have had on constitutionally

protected First Amendment activity; and c) the need for a deterrent against future

Government overreach.

      Respectfully submitted this 3rd day of November, 2022.


                                           /s/ John M. Graham
                                             John M. Graham
                                             ASB-5616-G70J
                                             Attorney for Eagle Forum of Alabama
                                             and Southeast Law Institute

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                         CERTIFICATE OF SERVICE

       I hereby certify that this 3rd day of November, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to counsel of record in this case.



                                               /s/ John M. Graham
                                               OF COUNSEL


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